            Case 2:13-md-02445-MSG Document 612 Filed 02/11/20 Page 1 of 2



                          IN THE UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF PENNSYLVANIA
__________________________________________
                                             :
IN RE SUBOXONE (BUPRENORPHINE                :     MDL NO. 2445
HYDROCHLORIDE AND NALOXONE)                  :     13-MD-2445
ANTITRUST LITIGATION                         :
                                             :
THIS DOCUMENT RELATES TO:,                   :
                                             :
Wisconsin, et al. v. Indivior Inc. et al.    :
Case No. 16-cv-5073                          :
__________________________________________:
STATE OF WISCONSIN                           :
By Attorney General Brad D. Schimel, et al.  :
                                             :     CIV. A. NO. 16-5073
                                Plaintiffs,  :
               v.                            :
                                             :
INDIVIOR INC. f/k/a RECKITT BENCKISER :
PHARMACEUTICALS, INC., et al.                :
                                             :
                                Defendants.  :
__________________________________________:

                                              ORDER

       AND NOW, this 11th day of February, 2020, upon consideration of the parties’ letter

submissions regarding proposed “Phase I” Daubert motions (Doc. Nos. 608, 609, 610) and following

a hearing, it is hereby ORDERED that:

       1.       “Phase I” Daubert motions 1 are due on April 1, 2020, as follows:

                a.     The Direct Purchaser Plaintiffs may file one omnibus brief of no more than

                       twenty-five (25) pages.

                b.     The Plaintiff States may file one omnibus brief of no more than twenty-five

                       (25) pages.


1
   The “Phase I” Daubert motions are motions involving expert opinions that are not impacted by
resolution of the issues currently pending before the Third Circuit. They do not include the Daubert
motions that the parties propose to file after the class certification decision by the Third Circuit.
     Case 2:13-md-02445-MSG Document 612 Filed 02/11/20 Page 2 of 2



           c.     Defendant Indivior may file one brief regarding its proposed “motion to

                  exclude expert opinions asserting or relying upon assertions that alleged

                  Reckitt safety messages were ‘false,’ ‘misleading,’ ‘disparaging,’ ‘fabricated,

                  ‘fraudulent,’ ‘sham,’ or ‘deceptive’” of no more than twenty-five (25) pages.

           d.     Defendant Indivior may file one omnibus brief on the remainder of its proposed

                  “Phase I” Daubert motions of no more than forty (40) pages.

2. All responses to the “Phase I” Daubert motions are due April 17, 2020 and shall be no more

   than twenty-five (25) pages each.

3. No reply briefs will be permitted.



                                        BY THE COURT:

                                        /s/ Mitchell S. Goldberg

                                        MITCHELL S. GOLDBERG, J.
